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               UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION

ROBERT DAVIS,                             Case No. 20-cv-00981
       Plaintiff,                         Hon.

v.

JOCELYN BENSON, in her official and individual capacities as the
Secretary of State, and
JANICE WINFREY, in her official and individual capacities as the
Detroit City Clerk, and
DETROIT DEPARTMENT OF ELECTIONS,
           Defendants.
_________________________________________________________________/
ANDREW A. PATERSON (P18690)               HEATHER S. MEINGAST (P55439)
Attorney for Plaintiffs                   ERIK GRILL (64713)
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                                          and Detroit Department of Elections
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________________________________________________________________/
      PLAINTIFF’S EMERGENCY MOTION FOR PARTIAL
   SUMMARY JUDGMENT WITH RESPECT TO COUNT IV OF
   COMPLAINT (ECF NO. 1) PURSUANT TO FED.R.CIV.P. 56.



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     NOW COMES Plaintiff, ROBERT DAVIS, by and through his

attorney, ANDREW A. PATERSON, and for his Emergency Motion for

Summary Judgment With Respect to Count IV of Complaint (ECF No.

1) Pursuant to Fed.R.Civ.P. 56, states as follows:

     Plaintiff Robert Davis (“Plaintiff Davis” or “Plaintiff”) respectfully

moves this Honorable Court to GRANT his Emergency Motion for

Summary Judgement With Respect To Count IV Only of Plaintiff’s

Complaint (ECF No. 1) Pursuant to Fed.R.Civ.P. 56.

               A. Necessity for Immediate Consideration

     There is an immediate need for the Court to address the

merits of Plaintiff’s instant emergency motion ASAP, but no

later than Friday, October 28, 2020. Public Act 177 of 2020, which

was signed into law on October 6, 2020, allows certain city and/or

township clerks to begin the process of processing returned absentee

ballots on November 2, 2020—one day before the November 3, 2020

general election. Public Act 177 is not applicable to all local clerks.

Public Act 177 is only applicable to local clerks serving in a city or

township with a population of 25,000 residents or more. It is Plaintiff’s




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position that Public Act 177 is a special act enacted in violation of

Mich.Const. 1963, art. IV, §29.

                               Concurrence

     The undersigned counsel certifies that counsel communicated in

writing with opposing counsel for Defendants Detroit City Clerk and

Detroit Department of Elections, explaining the nature of the relief to

be sought by way of this motion and seeking concurrence in the relief;

and opposing counsel thereafter expressly denied Plaintiff’s counsel’s

request for concurrence.



                              CONCLUSION

     WHEREFORE, for the reasons specified in the attached Brief in

Support, the Moving Plaintiff respectfully requests this Honorable

Court enters an order GRANTING his Emergency Motion for Partial

Summary Judgement With Respect To Count IV Only of Plaintiff’s

Complaint (ECF No. 1) Pursuant to Fed.R.Civ.P. 56.




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Dated: October 28, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
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               UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION

ROBERT DAVIS,                             Case No. 20-cv-00981
       Plaintiff,                         Hon.

v.

JOCELYN BENSON, in her official and individual capacities as the
Secretary of State, and
JANICE WINFREY, in her official and individual capacities as the
Detroit City Clerk, and
DETROIT DEPARTMENT OF ELECTIONS,
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________________________________________________________________/
 PLAINTIFF’S BRIEF IN SUPPORT OF EMERGENCY MOTION
  FOR PARTIAL SUMMARY JUDGMENT WITH RESPECT TO
    COUNT IV OF COMPLAINT (ECF NO. 1) PURSUANT TO
                         FED.R.CIV.P. 56.


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    ______________________________________________________________

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              STATEMENT OF ISSUES PRESENTED

I.     Is Public Act 177 of 2020 a special act that was enacted in

       violation of Mich.Const.1963, art. IV, §29?

                Moving Plaintiff Answers: Yes




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   MOST CONTROLLING OR APPROPRIATE AUTHORITIES

Cases
Houston v Governor, 491 Mich. 876; 810 NW2d 255 (2012)
State v. Wayne Co. Clerk, 466 Mich. 640, 648 N.W.2d 202 (2002)

Rules
Fed. R. Civ. P. 56

State Statutes
Mich. Comp. Laws §168.759(6)
Public Act 177 of 2020




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                           INTRODUCTION

     In response to the “huge” increase in absentee voter ballot requests

for the City of Detroit, on October 6, 2020, Michigan Governor Gretchen

Whitmer formally signed into law Public Act 177 of 2020 that allows the

Defendant Janice Winfrey and other city and township clerks with

populations of 25,000 residents or more to begin processing returned

absentee ballots a day before the November 3, 2020 general election.

Specifically, Public Act 177 of 2020 (“PA 177”) added subsection 6 to

Mich.Comp.Laws §168.765 of Michigan Election Law.             PA 177 took

immediate effect on October 6, 2020.

     Mich.Comp.Laws §168.765(6), as amended by PA 177, provides in

relevant part:

           (6) For the November 3, 2020 general election only, if the
           clerk of a city or township with a population of at least
           25,000 provides written notice in compliance with this
           subsection to the secretary of state 20 days or more before
           election day, that city or township clerk, or his or her
           authorized designee, may between the hours of 10a.m. and 8
           p.m. on the day before election day perform certain absent
           voter ballot pre-processing activities as described in this
           subsection. The written notice provided to the secretary of
           state must include the location and hours that the absent
           voter ballot return envelopes will be opened in that city or
           township. The secretary of state shall post any written notice

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           received from the clerk of a city or township under this
           subsection on the department of state website. In addition,
           the clerk of the city or township shall post the written notice
           provided to the secretary of state on the city or township
           website. The board of election commissioners shall appoint
           election inspectors to the location where absent voter ballot
           return envelopes will be opened in that city or township not
           less than 21 days or more than 40 days before the day at which
           they are to be used. (emphasis supplied).

     Upon information and belief, in accordance with Mich.Comp.Laws

§168.765(6) the Defendant Janice Winfrey timely provided notice to the

Defendant Secretary of State to be authorized to begin processing the

returned absentee ballots one day before the November 3, 2020 general

election. Notably, however, Mich.Comp.Laws §168.765(6) does not apply

to all city and township clerks.        Mich.Comp.Laws §168.765(6) only

applies “if the clerk of a city or township with a population of at

least 25,000.” (emphasis supplied).

     Plaintiff’s local city clerk in the City of Highland Park would not be

able to process the returned absentee ballots a day before the November

3, 2020 general election. Like the City of Detroit, the City of Highland

Park has also seen a relatively large increase of absentee voter ballot

requests. However, because a new federal census will not be completed

prior to the November 3, 2020 general election, Plaintiff’s local city clerk

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would not be able to qualify to apply to the Defendant Secretary of State

to begin to process returned absentee ballots a day before the November

3, 2020 general election. Because other local city and township clerks

will not be able to qualify due to the deadline set forth in the amended

statute, PA 177 constitutes as a local or special act.

     Mich.Const.1963, art. IV, §29, requires special or local acts to be

“approved by two-thirds of the members elected to and serving in each

house and by a majority of the electors voting thereon in the

district affected.” (emphasis supplied).         As noted, PA 177 took

immediate effect on October 6, 2020 after the Governor signed it into law.

According to the official journals of both the Michigan Senate and House

of Representatives, PA 177 was approved by two-thirds of the members

elected to and serving in the House of Representatives and the Senate.

However, prior to going into effect, PA 177 was not approved by a

majority of the registered electors in the various cities and townships

with at least 25,000 residents. PA 177 is a local or special act because

other municipalities, like the City of Highland Park, cannot qualify prior

to the November 3, 2020 general election.           More importantly, the




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amendments instituted with the enactment of PA 177 only applies for the

November 3, 2020 general election.

                    LAW AND LEGAL ANALYSIS

      I.    Summary Judgment With Respect to State-Law Claim
            Pled and Alleged In Count IV of Plaintiff’s Complaint
            Is Appropriate Under Rule 56 Because There Are No
            Disputed Issues Of Fact.

  A. Standard of Review.

     A motion for summary judgment under Federal Rule of Civil

Procedure 56 shall be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine dispute of

material fact exists when there are “disputes over facts that might

affect the outcome of the suit under the governing law.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “[F]acts must be viewed

in the light most favorable to the nonmoving party only if there is a

‘genuine’ dispute as to those facts.” Scott v. Harris, 550 U.S. 372, 380

(2007). “Where the record taken as a whole could not lead a rational

trier of fact to find for the nonmoving party, there is no genuine issue

for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 587 (1986).

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     Once the movant satisfies its initial burden of demonstrating the

absence of any genuine issue of material fact, the burden shifts to the

nonmoving party to set forth specific facts showing a triable issue of

material fact. Scott, 550 U.S. at 380; Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986). The nonmoving party “must do more than simply show

that there is some metaphysical doubt as to the material facts,” Scott,

550 U.S. at 380 (quoting Matsushita, 475 U.S. at 586), as the “mere

existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment,”

id. (quoting Anderson, 477 U.S. at 247-248) (emphasis in original); see

also Babcock & Wilcox Co. v. Cormetech, Inc., 848 F.3d 754, 758 (6th

Cir. 2017) (“A mere scintilla of evidence or some metaphysical doubt as

to a material fact is insufficient to forestall summary judgment.”).

     In fact, “[t]he failure to present any evidence to counter a well-

supported motion for summary judgment alone is grounds for granting

the motion.” Everson v. Leis, 556 F.3d 484, 496 (6th Cir.2009) (citing

Skousen v. Brighton High School, 305 F.3d 520, 528 (6th Cir. 2002)).

“Rule 56(e) identifies affidavits, depositions, and answers to

interrogatories as appropriate items that may be used to support or


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oppose summary judgment.” Alexander, 576 F.3d at 558. However,

“[b]oth claimants and parties defending against a claim may move for

summary judgment ‘with or without supporting affidavits.’” Id. at 557-

558 (quoting Fed.R.Civ.P. 56(a), (b)). Although not necessary, Plaintiffs

will be filing separate affidavits and/or declarations in support of

Plaintiffs’ instant emergency motion for summary judgment. Id.

  B. Law and Legal Analysis.

     1. Proper Exercise of Supplemental Jurisdiction.

     “[T]he district courts shall have supplemental jurisdiction over all

other claims that are so related to claims in the action within such

original jurisdiction that they form part of the same case or controversy

under Article III of the United States Constitution.” 28 U.S.C. §

1367(a). “In other words, if there is some basis for original jurisdiction,

the default assumption is that the court will exercise supplemental

jurisdiction over all related claims.” Campanella v. Commerce Exch.

Bank, 137 F.3d 885, 892 (6th Cir.1998). “Claims form part of the same

case or controversy when they derive from a common nucleus of

operative facts.” Harper v. AutoAlliance Int'l, Inc., 392 F.3d 195, 209

(6th Cir. 2004). “This requirement is met when state and federal law


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claims arise from the same contract, dispute, or transaction.” Soehnlen

v Fleet Owners Ins. Fund, 844 F.3d 576, 588 (6th Cir. 2016). Claims

form part of the same case or controversy when they “derive from a

common nucleus of operative facts.” Ahearn v. Charter Township of

Bloomfield, 100 F.3d 451, 454-55 (6th Cir.1996); accord White v. County

of Newberry, S.C., 985 F.2d 168, 172 (4th Cir.1993) (recognizing that

claims form part of same case or controversy if they “revolve around a

central fact pattern”).

     Here, Plaintiff’s state-law claim pled in Count IV of the complaint

(ECF No. 1) clearly arises from the same dispute and/or transaction as

Plaintiff’s federal claims as pled in Counts I and II of the complaint

(ECF No. 1). Soehnlen, 844 F.3d at 588. Thus, Plaintiff’s state-law

claim as pled in Count IV forms part of the same case or controversy as

Plaintiff’s federal claims because they “derive from a common nucleus of

operative facts”. Ahearn, 100 F.3d at 454-55. Accordingly, the Court

exercising supplemental jurisdiction over this state-law claim would be

proper and appropriate.




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     2. Declaratory Judgment Under MCR 2.605 Is Appropriate.

     In applying Michigan law, this Court “follow[s] the decisions of the

state's highest court when that court has addressed the relevant issue.”

Talley v. State Farm Fire & Cas. Co., 223 F.3d 323, 326 (6th Cir.2000).

If the issue has not been directly addressed, this Court must “anticipate

how the relevant state's highest court would rule in the case and are

bound by controlling decisions of that court.” In re Dow Corning Corp.,

419 F.3d 543, 549 (6th Cir.2005). “Intermediate state appellate courts'

decisions are also viewed as persuasive unless it is shown that the

state’s highest court would decide the issue differently.” Id.

     MCR 2.605 governs a trial court's power to enter a declaratory

judgment. The court rule provides, in pertinent part, that “[i]n a case of

actual controversy within its jurisdiction, a Michigan court of record

may declare the rights and other legal relations of an interested party

seeking a declaratory judgment, whether or not other relief is or could

be sought or granted.” MCR 2.605(A)(1). The language in this rule is

permissive, and the decision whether to grant declaratory relief is

within the trial court's sound discretion. P.T. Today, Inc. v. Comm'r of




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Office Fin. & Ins. Servs., 270 Mich.App. 110, 126, 715 NW2d 398, 411

(2006).

     When there is no actual controversy, the court lacks jurisdiction to

issue a declaratory judgment. Citizens for Common Sense in Gov't v.

Attorney General, 243 Mich.App. 43, 55; 620 NW2d 546, 552 (2000).

Thus, “the existence of an `actual controversy' is a condition precedent

to the invocation of declaratory relief.” P.T. Today, Inc., 270 Mich.App.

at 127, 715 N.W.2d 398, 411. An actual controversy exists when a

declaratory judgment is necessary to guide the plaintiff's future conduct

in order to preserve the plaintiff's legal rights. Shavers v. Attorney

General, 402 Mich. 554, 588-589, 267 NW2d 72, ___ (1978). “It is not

necessary that ‘actual injuries or losses have occurred'; rather than

`plaintiffs plead and prove facts which indicate an adverse interest

necessitating a sharpening of the issues raised.’” Kircher v. City of

Ypsilanti, 269 Mich.App. 224, 227; 712 NW2d 738, 741 (2005), quoting

Shavers, 402 Mich. at 589, 267 NW2d at____.

     Here, there is clearly an actual controversy between the Plaintiff

and Defendants Janice Winfrey and Detroit Department of Elections.

As noted, in response to the “huge” increase in absentee voter ballot


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requests for the City of Detroit, on October 6, 2020, Michigan Governor

Gretchen Whitmer formally signed into law Public Act 177 of 2020 that

allows the Defendant Janice Winfrey and other city and township clerks

with populations of 25,000 residents or more to begin processing

returned absentee ballots a day before the November 3, 2020 general

election. Specifically, Public Act 177 of 2020 (“PA 177”) added

subsection 6 to Mich.Comp.Laws §168.765 of Michigan Election Law.

PA 177 took immediate effect on October 6, 2020.

     Mich.Comp.Laws §168.765(6), as amended by PA 177, provides in

relevant part:

           (6) For the November 3, 2020 general election only, if the
           clerk of a city or township with a population of at least
           25,000 provides written notice in compliance with this
           subsection to the secretary of state 20 days or more before
           election day, that city or township clerk, or his or her
           authorized designee, may between the hours of 10a.m. and 8
           p.m. on the day before election day perform certain absent
           voter ballot pre-processing activities as described in this
           subsection. The written notice provided to the secretary of
           state must include the location and hours that the absent
           voter ballot return envelopes will be opened in that city or
           township. The secretary of state shall post any written notice
           received from the clerk of a city or township under this
           subsection on the department of state website. In addition,
           the clerk of the city or township shall post the written notice
           provided to the secretary of state on the city or township
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           website. The board of election commissioners shall appoint
           election inspectors to the location where absent voter ballot
           return envelopes will be opened in that city or township not
           less than 21 days or more than 40 days before the day at which
           they are to be used. (emphasis supplied).

     Upon information and belief, in accordance with Mich.Comp.Laws

§168.765(6), the Defendant Janice Winfrey timely provided notice to the

Defendant Secretary of State to be authorized to begin processing the

returned absentee ballots one day before the November 3, 2020 general

election. Notably, however, Mich.Comp.Laws §168.765(6) does not apply

to all city and township clerks. Mich.Comp.Laws §168.765(6) only applies

“if the clerk of a city or township with a population of at least

25,000.” (emphasis supplied).

     Plaintiff’s local city clerk in the City of Highland Park would not be

able to process the returned absentee ballots a day before the November

3, 2020 general election. Like the City of Detroit, the City of Highland

Park has also seen a relatively large increase of absentee voter ballot

requests. However, because a new federal census will not be completed

prior to the November 3, 2020 general election, Plaintiff’s local city clerk

would not be able to qualify to apply to the Defendant Secretary of State

to begin to process returned absentee ballots a day before the November

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3, 2020 general election. Because other local city and township clerks will

not be able to qualify due to the deadline set forth in the amended statute,

PA 177 constitutes as a local or special act.

     Mich.Const.1963, art. IV, §29, requires special or local acts to be

“approved by two-thirds of the members elected to and serving in each

house and by a majority of the electors voting thereon in the

district affected.” (emphasis supplied). As noted, PA 177 took

immediate effect on October 6, 2020 after the Governor signed it into law.

According to the official journals of both the Michigan Senate and House

of Representatives, PA 177 was approved by two-thirds of the members

elected to and serving in the House of Representatives and the Senate.

However, prior to going into effect, PA 177 was not approved by a

majority of the registered electors in the various cities and townships

with at least 25,000 residents. PA 177 is a local or special act because

other municipalities, like the City of Highland Park, cannot qualify prior

to the November 3, 2020 general election. Notably, the amendments

instituted with the enactment of PA 177 only applies for the November

3, 2020 general election.




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     It is a well-established rule under Michigan jurisprudence that a

“statute is presumed to be constitutional unless its unconstitutionality is

clearly apparent.” McDougall v. Schanz, 461 Mich. 15, 23, 597 N.W.2d

148 (1999). Further, any “attempt to segregate any portion or exclude any

portion [of a statute] from consideration is almost certain to distort the

legislative intent.” Robinson v. City of Lansing, 486 Mich. 1, 16, 782

N.W.2d 171 (2010). Rather, when interpreting a statute, its words

“should not be construed in the void, but should be read together to

harmonize the meaning, giving effect to the Act as a whole.” General

Motors Corp. v. Erves, 399 Mich. 241, 255, 249 N.W.2d 41 (1976).

     Mich.Const. 1963, art. 4, § 29 provides that the Legislature “shall

pass no local or special act where a general act can be made applicable,”

unless approved by a two-thirds vote of the Legislature and by a

“majority of the electors voting thereon in the district affected.”

(emphasis supplied). Whether PA 177 constitutes a local act must be

determined in accordance with the principles set forth in the preceding

paragraph. Indeed, the fact that Mich.Const. 1963, art. 4, § 29 refers to

the “act” underscores the necessity of viewing all of statutory provisions

within the larger context of the act itself.


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     In Dearborn v. Bd. of Supervisors, 275 Mich. 151, 155-156, 157; 266

N.W. 304 (1936), the Michigan Supreme Court established a two-part test

for determining whether an act is “general” or “local”. “First, the limiting

criteria of the act must be reasonably related to the overall purpose of the

statute.” Houston v Governor, 491 Mich. 876,___; 810 NW2d 255, 257

(2012). “Second, the act must be sufficiently open-ended so that localities

may be brought within the scope of its provisions as such localities over

time meet the required criteria.” Id. “The probability or improbability of

other [localities] reaching the statutory [criteria] ... is not the test of a

general law.” Dearborn, 275 Mich at 157. “‘It must be assumed’ that other

localities may come to meet the criteria.” Houston, 491 Mich. at____; 810

NW2d at 257, quoting Dearborn, 275 Mich. at 157, 266 NW 304.

     However, as the Michigan Supreme Court recognized in Houston,

supra, like here, when only certain cities “could satisfy those criteria by

the date certain, we held that the act constituted ‘local’ legislation.”

Houston, 491 Mich. at _____; 810 NW2d at 259, citing State v. Wayne Co.

Clerk, 466 Mich. 640, 648 N.W.2d 202 (2002). That is precisely the case

here! Only certain cities will be able to satisfy the 25,000 population

threshold by the November 3, 2020 general election. In fact, the 25,000


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population threshold would have to have been met 20 days prior to the

November 3, 2020 general election. See MCL §168.765(6), as amended

by Public Act 177. Only certain cities and townships are able to meet the

population threshold by the date certain. And since the federal census

will not be completed until sometime next year, Plaintiff’s community,

the City of Highland Park would not be able to meet the population

threshold by the date certain set forth in Public Act 177.

     In addition, Public Act 177 cannot meet the first criteria of

qualifying as a “general” act because the population threshold is not

“reasonably related to the overall purpose of the statute.” Houston, 491

Mich. at___; 810 NW2d at 257. As noted, all local city and township

clerks have seen a significant increase in requests for absentee ballots

due to the COVID-19 pandemic. There have been numerous articles

written on how all local city and township clerks have received an

abundance of requests from voters to vote by absentee ballot.

Therefore, the benefits of Public Act 177 should not be limited to clerks

who serves cities or townships with a population of 25,000 or more. It

should be applicable to ALL local city and/or township clerks,

irrespective of their respective populations.


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     It is apparent that Public Act 177 is a “local” or “special” act that

was not properly enacted in accordance with Mich.Const.1963, art. IV,

§29 because it was not approved by a majority of registered electors in

the qualifying cities or townships prior to its enactment. Accordingly,

the Court must either determine that Public Act 177 is unconstitutional

and unenforceable or determine that the population requirement is

severable from the act.

                             CONCLUSION

     WHEREFORE, for the foregoing reasons, Plaintiff prays that this

Honorable Court GRANT Plaintiff’s Emergency Motion for Partial

Summary Judgment with respect to Count IV of the complaint and

either rule the entire Public Act 177 unconstitutional or sever the

unconstitutional population requirement from Public Act 177.


Dated: October 28, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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                     CERTIFICATE OF SERVICE

     I, ANDREW A. PATERSON, certify that the foregoing

document(s) was filed and served via the Court's electronic case filing

and noticing system (ECF) this 28th day of October, 2020, which will

automatically send notification of such filing to all attorneys and parties

of record registered electronically.

                                   Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Plaintiff




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